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UNlTED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

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VlCTOR BERNACHE, an mdlvidual, CASE NUMBER

2216~cv-5053 DSF (JCX)
Plaintiff(s),

ll

 

V.
ALL COUNTY RECOVERY LLC, a California limited

liability company; and DOES l through 10, inclusive, NOTICE OF DISMISSAL PURSUANT
§

To FEDERAL RULEs oF CIVIL
PROCEDURE 41(a) or (c)

 

Defendant(s).

PLEASE TAKE NOTICE: (Check one)
l§l This action is dismissed by the Plaintiff(s) in its entirety.

|:| The Countcrclaim brought by Claimant(s) is
dismissed by Claimant(s) in its entirety.

|:l The Ci'oss-Claim brought by Claimants(s) is
dismissed by the Claimant(s) in its entirety.

[l Thc Thii'd-party Clai,m brought by Claimant(s) is
dismissed by the Claimant(s) in its entirety.

|:l ONLY Defendarit(s)

 

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is/ai'e dismissed from (eheck one) ij Complaint, |:l Counterclaim, l:| Cross-claim, |:l Third-Party Claim
brought by

 

 

§
The dismissal is made pursuant to F.R.CiV.P. 4l(a) or (c).

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Dale % Si§ialure r)_/`Atlorney/Party

10/17/16

 

iV()TE: F.R.Civ.P. 41(¢1): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
summary judgment, whichever./irst occurs.

§
F.R.Civ.P. 41 (c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive

pleading or prior to the beginning of trial.

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(`\'A()‘) (03/|0) NOTlCE OF DlSMlSSAL PURSUANT TO FEDERAL RULES OF CIVlL PROCEDURE 4l(a) or (c)

